          Case 2:20-mj-00697-BNW Document 16
                                          15 Filed 10/21/21
                                                   10/20/21 Page 1 of 3




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 2
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     Attorney for Lisa Ann Dulay
 8
 9                       UNITED STATES DISTRICT COURT
10
                                DISTRICT OF NEVADA
11
12   UNITED STATES OF AMERICA,                      Case No. 2:20-mj-00697-BNW
13
                 Plaintiff,                         STIPULATION TO CLOSE
14                                                  CASE
           v.
15
16   LISA ANN DULAY,

17               Defendant.
18
19         IT IS HEREBY STIPULATED AND AGREED, by and between
20   Christopher Chiou, Acting United States Attorney, and Rachel Kent, Special
21   Assistant United States Attorney, counsel for the United States of America, and
22   Rene L. Valladares, Federal Public Defender, and Joanne L. Diamond, Assistant
23   Federal Public Defender, counsel for Lisa Ann Dulay, that the case be closed.
24         This Stipulation is entered into for the following reasons:
25         1.    On August 12, 2020, Ms. Dulay was charged in a two-count
26   Complaint with (1) Operating a Motor Vehicle while Under the Influence of
          Case 2:20-mj-00697-BNW Document 16
                                          15 Filed 10/21/21
                                                   10/20/21 Page 2 of 3




 1   Alcohol, and (2) Operating a Motor Vehicle with a BAC of 0.08 Grams and
 2   Higher. ECF No. 1.
 3         2.     On October 21, 2020, Ms. Dulay entered into a Petty Offense Plea
 4   Agreement with the government in which she agreed to plead guilty to Count
 5   One of the Complaint, Operating a Motor Vehicle while Under the Influence of
 6   Alcohol. ECF No. 6 at 1. The government agreed to dismiss Count Two,
 7   Operating a Motor Vehicle with a BAC of 0.08 Grams and Higher. Id.
 8         3.     The parties jointly agreed to recommend Ms. Dulay be sentenced to
 9   unsupervised probation for one year, with the following special conditions: (i) pay
10   a $500 fine and a mandatory $10 penalty assessment; (2) attend and complete
11   the Lower Court Counseling’s DUI course and Victim Impact Panel; (3) complete
12   an 8 hour online alcohol awareness course; (4) not return to Lake Mead for 6
13   months; (5) not violate any local, state, or federal laws for 6 months. ECF No. 6 at
14   2.
15         4.     The parties further agreed that, if, after 6 months of unsupervised
16   probation, Ms. Dulay successfully completed special conditions (i), (ii), and (iii), ,
17   and had not entered Lake Mead or violated any laws, they would move to
18   withdraw her guilty plea to Count One and the government would move to
19   amend Count One to Reckless Driving, allow Ms. Dulay to plead guilty to
20   Reckless Driving, and apply the original sentence to the Reckless Driving
21   conviction. ECF No. 6 at 3.
22         5.     On October 21, 2020, this Court sentenced Ms. Dulay pursuant to
23   the plea agreement. ECF No. 10.
24         6.     This Court ordered the parties to file a Proposed Stipulation by
25   April 21, 2021, indicating that Ms. Dulay has completed all outstanding
26   sentencing obligations. Id.
                                                 2
          Case 2:20-mj-00697-BNW Document 16
                                          15 Filed 10/21/21
                                                   10/20/21 Page 3 of 3




 1         7.     On April 21, 2021, the parties filed a Joint Status Report informing,
 2   ECF No. 14, the Court that Ms. Dulay had successfully completed conditions (i),
 3   (ii), and (iii). Ms. Dulay had not entered Lake Mead. Ms. Dulay had, however,
 4   been convicted of violating a state law. Specifically, on March 29, 2021, Ms.
 5   Dulay appeared in Las Vegas Justice Court and pled guilty to Petit Larceny.
 6   Because Ms. Dulay was convicted of violating a state law, pursuant to the plea
 7   agreement, her conviction for Operating a Motor Vehicle while Under the
 8   Influence of Alcohol remained in effect. See ECF No. 6 at 3.
 9         8.     Ms. Dulay has continued to stay away from Lake Mead and has
10   obtained no new law violations.
11         9.     Based on her completion of 12 months’ unsupervised probation, the
12   parties jointly request the case be closed.
13         DATED: October 20, 2021.
14
15    RENE L. VALLADARES                           CHRISTOPHER CHIOU
      Federal Public Defender                      Acting United States Attorney
16
17    By /s/ Joanne L. Diamond                     By /s/ Rachel Kent

18    JOANNE L. DIAMOND                            RACHEL KENT
      Assistant Federal Public Defender            Special Assistant United States
19                                                 Attorney
20
21                                     Order
                               IT IS SO ORDERED
22
                               DATED: 8:46 am, October 21, 2021
23
24
25                             BRENDA WEKSLER
                               UNITED STATES MAGISTRATE JUDGE
26
                                                   3
